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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

  AMERICAN ALLIANCE FOR EQUAL
  RIGHTS, a nonprofit corporation,
                         Plaintiff,
         v.
  KAY IVEY, in her official capacity as
  Governor of the State of Alabama,                 Civil Action No. 2:24-cv-00104-RAH-JTA
                         Defendant,
              and
  ALABAMA ASSOCIATION OF REAL
  ESTATE BROKERS, a nonprofit corporation,
               Intervenor Defendant.




         INTERVENOR DEFENDANT’S UNOPPOSED MOTION TO EXTEND
               DEFENDANTS’ EXPERT DISCLOSURE DEADLINE

     Intervenor Defendant, the Alabama Association of Real Estate Brokers, hereby moves the

Court to amend its July 17, 2024, Scheduling Order (Doc. 72) (“Existing Scheduling Order”) to

extend the expert disclosure deadline for defendants from February 10, 2025, to March 14, 2025.

Intervenor Defendant seeks this extension to ensure adequate opportunity to review Defendant

Kay Ivey’s December 12, 2024, and December 20, 2024, production of documents responsive to

discovery requests served in August. Intervenor Defendant does not seek any other changes to

the Existing Scheduling Order.


     Intervenor Defendant conferred with the other parties before filing this motion. Neither

Defendant, Governor Ivey, nor Plaintiff, the American Alliance for Equal Rights, object to the

requested extension of defendants’ expert disclosure deadline.
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 In support of its motion, Intervenor Defendant states as follows:


1. On July 17, 2024, the Court entered the Existing Scheduling Order, which, among other

   things, set deadlines for expert witness disclosures and completion of discovery.

2. Under the Existing Scheduling Order, expert witness disclosures are due on or before

   January 9, 2025, for Plaintiff, and February 10, 2025, for defendants. Discovery closes on

   April 11, 2025.

3. On August 16, 2024, Intervenor Defendant served Defendant Ivey with its First Set of

   Requests for Production.

4. Over the intervening months, Intervenor Defendant has accommodated various requests

   from Defendant Ivey for additional time to provide written responses and produce

   documents responsive to Intervenor Defendant’s document requests. Defendant Ivey has

   asked for these accommodations, citing constraints on resources in her office and the

   office of the Attorney General due to the absence of key personnel on personal leave and

   litigation obligations in various other federal and state court matters.

5. All told, counsel for Intervenor Defendant has corresponded with counsel for both the

   Plaintiff and the Defendant on a regular basis for several months and arranged meet-and-

   confers to keep discovery on track and avoid unnecessary discovery motions practice.

6. On October 25, 2024, Defendant produced certain documents from the paper file of the

   Governor’s appointments office staff.

7. On December 12, 2024, Defendant served her first ESI production and privilege log, after

   reviewing, according to her counsel, about 25% of the documents that had been collected.

8. On December 20, 2024, Defendant made a second ESI production and indicated that her

   production of responsive ESI was complete.


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   9. Absent the requested extension, Intervenor Defendant will have a little over one month—

        including three federal / state holidays and the week between Christmas and New Year’s

        Day—to review these production(s) and related privilege logs, conduct any deposition(s)

        to establish context for the documents, and provide any relevant information to its

        expert(s) ahead of defendants’ current expert disclosure deadline (February 10, 2025).

   10. Intervenor Defendant therefore moves this Court to extend the expert disclosure deadline

        for defendants by 32 days, through and including March 14, 2025, to allow adequate time

        for Intervenor Defendant to complete certain fact discovery before its expert disclosure

        deadline.

   11. This is the first request made by any party for the extension of deadlines in this case. At

        this point, Intervenor Defendant does not believe that any of the other deadlines in the

        Existing Scheduling Order need to be adjusted.

   12. This motion is made in good faith and not for any purpose of delay.

   13. No party will be prejudiced by the requested extension. Indeed, the requested extension

        will not impact the discovery cutoff, nor the current dispositive, pretrial, and trial

        deadlines set out in the Existing Scheduling Order.


     For the foregoing reasons, Intervenor Defendant respectfully requests that the Court (a)

grant this Motion; (b) enter the Proposed Order, attached as Exhibit A; and (c) extend the

deadline for defendants’ expert witness disclosures by 32 days, through and including March 14,

2025.



December 23, 2024                                        Respectfully submitted,

                                                         /s/ Brooke Menschel
                                                         Brooke Menschel
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                              CERTIFICATE OF SERVICE


      I hereby certify that on December 23, 2024, I electronically filed a copy of the foregoing

with the Clerk of the Court via CM/ECF which will send notification to all counsel of record:


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                                                    /s/ Brooke Menschel
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